                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION


LORRAINE S. HOFFMAN,

          Plaintiff,
                                       Case No.: 8:22-cv-02004-SDM-AAS
v.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

         Defendant.
_________________________________/

DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S
   ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                    COMPLAINT

     COMES NOW, Defendant, HEALTHCARE REVENUE RECOVERY

GROUP, LLC (“Defendant” or “HRRG”) by and through its undersigned

counsel, hereby files its Answer and Affirmative Defenses to Plaintiff’s

Complaint [DE 1], and states the following:

                       NATURE OF THE ACTION

     1.     Admitted to the extent of subject matter, personal and federal

question jurisdiction, venue and claims identified under the provisions of the

Fair Debt Collection Practices Act (“FDCPA”). Otherwise denied; Defendant

HRRG demands strict proof thereof.
                       JURISDICTION AND VENUE

     2.    Admitted for purposes of federal question jurisdiction, subject

matter jurisdiction, and venue only; otherwise denied.

     3.    Admitted for purposes of supplemental jurisdiction only; otherwise

denied.

                                 PARTIES

     4.    Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     5.    Admitted for purpose of jurisdiction and venue only; otherwise

denied.

                        FACTUAL ALLEGATIONS

     6.    Admitted.

     7.    Unknown at this time; therefore denied.

     8.    Unknown at this time; therefore denied.

     9.    Unknown at this time; therefore denied.

     10.   Unknown at this time; therefore denied.

     11.   Unknown at this time; therefore denied.

     12.   Unknown at this time; therefore denied.

     13.   Unknown at this time; therefore denied.

     14.   Unknown at this time; therefore denied.

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      15.   Denied. Defendant demands strict proof thereof.

      16.   Denied. Defendant demands strict proof thereof.

      17.   Denied. Defendant demands strict proof thereof.

      18.   Denied. Defendant demands strict proof thereof.

                              Count I: FDCPA

      Defendant re-asserts and incorporates its responses to the allegations

contained in paragraphs 1−18.

      19.   Admitted for the purposes of jurisdiction and venue only;

otherwise denied.

      20.   Admitted.

      21.   Admitted.

      22.   Admitted.

      23.   Admitted to the extent that Section 1692c is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1692c. Otherwise, denied.

      24.   Admitted to the extent that Section 1692c is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1692c. Otherwise, denied.

      25.   Admitted to the extent that Section 1692c is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1692c. Otherwise, denied.

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      26.   Denied.

      27.   Denied.

      28.   Denied.

      29.   Denied.

      30.   Admitted to the extent that Section 1692d is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1692d. Otherwise, denied.

      31.   Denied.

      32.   Denied.

      33.   Admitted to the extent that Section 1692g is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1692g. Otherwise, denied.

      34.   Denied.

      35.   Denied.

                                  Count II:

                             REGULATION F

      Defendant re-asserts and incorporates its responses to the allegations

contained in paragraphs 1−35.

      36.   Admitted to the extent that Section 1006.14 is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1006.14. Otherwise, denied.

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      37.   Admitted to the extent that Section 1006.14 is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1006.14. Otherwise, denied.

      38.   Admitted to the extent that Section 1006.14 is self-evident. Denied

to the extent that Defendant HRRG is liable to the Plaintiff for any claim

arising out of Section 1006.14. Otherwise, denied.

      39.   Denied.

      40.   Denied.

      41.   Denied.

      42.   Denied.

      43.   Denied.

                                  Count III:

                                   FCCPA

      Defendant re-asserts and incorporates its responses to the allegations

contained in paragraphs 1-43.

      44.   Admitted to the extent that Sections 559.72(7) and (9) are self-

evident. Denied to the extent that Defendant HRRG is liable to the Plaintiff

for any claim arising out of either Section 559.72(7) and/or Section 559.72(9).

Otherwise, denied.

      45.   Denied.

      46.   Denied.

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      47.   Denied.

      48.   Denied.

      49.   Denied.

      50.   Denied.

      51.   Denied.

                       DEMAND FOR JURY TRIAL

      52.   Defendant demands trial by jury for any remaining issue following

the determination of any dispositive motions.


                       AFFIRMATIVE DEFENSES

First Affirmative Defense

      Defendant affirmatively alleges that Defendant is not liable for the

alleged actions or inactions of other third parties, and/or any of their

employees, agents, or principals.

Second Affirmative Defense

      Defendant affirmatively alleges that to the extent that any allegations

exceed one (1) year from the date of filing of the Complaint, such claims or

allegations are barred by the statute of limitations under the Fair Debt

Collection Practices Act (“FDCPA”).




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Third Affirmative Defense

         Defendant affirmatively alleges that the alleged actions of Defendant

and its agents and employees are protected by the “bona fide error” defense

pursuant to the Fair Debt Collection Practices Act, Section 1692k since such

actions or inactions, if they occurred, were not intentional and resulted from a

bona fide error notwithstanding the Defendant’s maintenance of procedures

reasonably adapted to avoid such error.

Fourth Affirmative Defense

         Defendant affirmatively alleges that the alleged actions of Defendant

and its agents and employees are protected by the “bona fide error” defense

pursuant to Florida’s Consumer Collection Practices Act (“FCCPA”), Section

559.77 Fla. Stat. since such actions or inactions, if they occurred, were not

intentional and resulted from a bona fide error notwithstanding the

Defendant’s maintenance of procedures reasonably adapted to avoid such

error.

Fifth Affirmative Defense

         Plaintiff is not entitled to recover any damages, or any recovery awarded

should be reduced by the amount of damages that reasonably could have been

avoided because Plaintiff failed to take reasonable steps to mitigate her

damages with respect to the matters alleged in the Complaint.



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Sixth Affirmative Defense

      Defendant affirmatively alleges that Defendant lacks the requisite

intent under Section 559.72(7) Fla. Stat.

Seventh Affirmative Defense

      Defendant affirmatively alleges that Defendant lacks the requisite

“actual knowledge” under Section 559.72(9) Fla. Stat.

Eighth Affirmative Defense

      Defendant affirmatively alleges that Regulation F does not create,

establish or enact a separate and independent private cause of action from the

provisions of the Fair Debt Collection Practices Act (“FDCPA”) and thus any

allegation under Count II is non-actionable and/or duplicative to Count I.

      WHEREFORE, Defendant, HRRG, requests that this Court dismiss

Plaintiff’s Complaint and that Defendant HRRG be awarded reasonable

attorneys’ fees and costs as provided for under applicable law.


      Dated this 3rd day of October 2022.

                             Respectfully submitted,

                             /s/ Ernest H. Kohlmyer, III
                             Ernest H. Kohlmyer, III




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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on October 3, 2022, with the Clerk of the Court by using the electronic

filing system. I further certify that the foregoing has been sent via electronic

transmission to the following: Alexander J. Taylor, Esquire of Sulaiman Law

Group, Ltd. at ataylor@sulaimanlaw.com (Attorneys for Plaintiff).


                                   /s/_Ernest H. Kohlmyer, III
                                   Ernest H. Kohlmyer, III, Esq., LL.M.
                                   SKohlmyer@Shepardfirm.com
                                   service@shepardfirm.com
                                   Florida Bar No.: 0101108
                                   2300 Maitland Center Parkway, Suite 100
                                   Maitland, Florida 33751
                                   Telephone: (407) 622-1772
                                   Facsimile (407) 622-1884
                                   Attorneys for Defendant, Healthcare
                                   Revenue Recovery Group, LLC




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